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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

   LONE STAR TECHNOLOGICAL                      §
   INNOVATIONS, LLC,                            §
                                                §    Civil Action No. 6:19-cv-059-RWS
             Plaintiff,                         §
                                                §    LEAD CASE
                     v.                         §
                                                §    JURY TRIAL DEMANDED
   ASUSTEK COMPUTER INC. ET AL,                 §
                                                §
             Defendants.                        §
                                                §


             JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT

             Pursuant to P.R. 4-3 and the Court’s Docket Control Order (Dkt. 70), Plaintiff Lone

   Star Technological Innovations, LLC (“Lone Star” or “Plaintiff”) and Defendants Asustek

   Computer Inc. and Barco N.V. (together, “Defendants”), the Parties in the above captioned

   case, file this Joint Claim Construction and Prehearing Statement.

             At issue in this case is U.S. Patent No. 6,724,435 (the “’435 Patent” or “Patent-in-

   Suit”).

             A.      P.R. 4-3(a)(1): Constructions of the Claim Terms, Phrases, or
                     Clauses on which the Parties Agree

             The construction of those claim terms, phrases, or clauses on which the Parties agree

   are as follows:


     Claim Term To Be Construed                              Agreed Construction
   “hue”                                    1) tint; 2) gradation or shade of a color or color
                                           component; or 3) the angle between one color or color
                                           component and the other colors or color components
                                           characterized in a particular color space

   “saturation”                            1) the intensity of a color or color component
                                           characterized in a particular color space; or 2)
                                           vividness of hue

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     Claim Term To Be Construed                            Agreed Construction

   “selecting to independently change Plain and ordinary meaning.
   the hue or saturation of an
   individual color”
   “identifying a plurality of said input Plain and ordinary meaning.
   image pixels having said selected
   individual color in the real time
   digital video input image with the
   hue or the saturation selected to be
   independently changed”


          B.      P.R. 4-3(a)(2): Proposed Constructions and Indefiniteness
                  Positions for Disputed Claim Terms, Phrases, or Clauses

          Exhibit A includes Plaintiff’s and Defendants’ proposed constructions and

   indefiniteness positions for the disputed claim terms, phrases, or clauses pursuant to Local

   Patent Rule 4-3(b). The Parties request construction of these claim terms, phrases, or

   clauses by the Court.

          Exhibit B includes Plaintiff’s identification of intrinsic and extrinsic evidence for

   each term.

          Exhibit C includes Defendants’ identification of intrinsic and extrinsic evidence for

   each term.

          C.      P.R. 4-3(a)(3): Anticipated Length of Claim Construction Hearing

   The anticipated time necessary for the Claim Construction Hearing is three hours.

          D.      P.R. 4-3(a)(4): Witnesses To Be Called At The Claim
                  Construction Hearing

          The Parties agree that neither side will call any witnesses at the claim construction

   hearing.

          E.      P.R. 4-3(a)(5): Issues For A Prehearing Conference

          None.


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